1
2
3
4
5
6
                               UNITED STATES DISTRICT COURT
7
                                       DISTRICT OF ARIZONA
8
     Mi Familia Vota,                                No. 2:22-cv-00509-SRB (Lead)
9
                          Plaintiff,                 ORDER
10
     v.
11
     Adrian Fontes, in his official capacity as
12   Arizona Secretary of State, et al.,
13                        Defendant.
14
     AND CONSOLIDATED CASES
15
16          Pending before the Court is Speaker of the House Ben Toma and Senate President
17   Warren Petersen’s Motion to Intervene as Defendants (Doc. 348). The United States filed a
18   response stating its non-opposition to the granting of the motion. The Non-United States
19   Plaintiffs have also responded and do not oppose the granting of the motion. Therefore,
20          IT IS HEREBY ORDERED granting Speaker of the House Ben Toma and Senate
21   President Warren Petersen’s Motion to Intervene as Defendants. (Doc. 348)
22          Dated this 26th day of April, 2023.
23
24
25
26
